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                                   UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF OHIO
                                        WESTERN DIVISION

JAMUAL S. BURKS,                                                          Case No. 1:20-cv-93
    Plaintiff,                                                            Cole, J
                                                                          Litkovitz, M.J.

           vs.

OHIO DEPARTMENT OF REHABILITATION                                         SUPPLEMENTAL REPORT
IN CORRECTIONS, et al.,                                                   AND RECOMMENDATION
     Defendants.

           This matter is before the Court on remaining defendant Matt Keating’s motion to dismiss

(Doc. 17). 1 Plaintiff has not filed a response. Defendant argues that plaintiff has failed to
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prosecute his case; specifically, plaintiff has failed to notify the Court of a change in his address

upon his release to Adult Parole Authority supervision. (Id. at PAGEID 78). Defendant

references the undersigned’s prior Report and Recommendation recommending dismissal on the

same basis. (See Doc. 14). Subsequent to this Report and Recommendation, the Court

continues to receive returned mail addressed to plaintiff. (Docs. 15-16, 19).

           A pro se litigant has an affirmative duty to diligently pursue the prosecution of his cause

of action, see Jourdan v. Jabe, 951 F.2d 108, 109 (6th Cir. 1991), as well as a duty to supply the

Court with notice of any and all changes in his address. See Barber v. Runyon, No. 93-6318,

1994 WL 163765, at *1 (6th Cir. May 2, 1994) (citing Pena v. Seguros La Commercial, S.A.,

770 F.2d 811, 815 (9th Cir. 1985)). District courts have the power to dismiss civil actions for

want of prosecution to “manage their own affairs so as to achieve the orderly and expeditious

disposition of cases.” Link v. Wabash R.R., 370 U.S. 626, 630-31 (1962). By failing to keep

the Court apprised of his current address, plaintiff has failed to diligently pursue the prosecution



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    The other defendants named in this action were dismissed as parties by a prior order of the Court. (Doc. 11).
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of this action.

                         IT IS THEREFORE RECOMMENDED THAT:

    1. Defendant’s motion to dismiss (Doc. 17) be GRANTED.

    2. This case be DISMISSED with prejudice for want of prosecution pursuant to Fed. R.

        Civ. P. 41(b).

    3. The Court certify pursuant to 28 U.S.C. § 1915(a)(3) that for the foregoing reasons an

        appeal of this Court’s Order would not be taken in good faith. See McGore v.

        Wrigglesworth, 114 F.3d 601 (6th Cir. 1997).



Date: 3/3/2022
                                                    Karen L. Litkovitz
                                                    United States Magistrate Judge




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                            UNITED STATES DISTRICT COURT
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JAMUAL S. BURKS,                                              Case No. 1:20-cv-93
    Plaintiff,                                                Cole, J
                                                              Litkovitz, M.J.

       vs.

OHIO DEPARTMENT OF REHABILITATION
IN CORRECTIONS, et al.,
     Defendants.

                                             NOTICE

       Pursuant to Fed. R. Civ. P. 72(b), WITHIN 14 DAYS after being served with a copy of

the recommended disposition, a party may serve and file specific written objections to the

proposed findings and recommendations. This period may be extended further by the Court on

timely motion for an extension. Such objections shall specify the portions of the Report

objected to and shall be accompanied by a memorandum of law in support of the objections. If

the Report and Recommendation is based in whole or in part upon matters occurring on the

record at an oral hearing, the objecting party shall promptly arrange for the transcription of the

record, or such portions of it as all parties may agree upon, or the Magistrate Judge deems

sufficient, unless the assigned District Judge otherwise directs. A party may respond to another

party’s objections WITHIN 14 DAYS after being served with a copy thereof. Failure to make

objections in accordance with this procedure may forfeit rights on appeal. See Thomas v. Arn,

474 U.S. 140 (1985); United States v. Walters, 638 F.2d 947 (6th Cir. 1981).




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